                                                                                          Case 2:03-cr-00042-MCE Document 1037 Filed 11/20/07 Page 1 of 2
                                                                                  1   KATHRYN KOHLMAN DRULINER     (SBN 148913)
                                                                                      LAW OFFICES OF KATHRYN KOHLMAN DRULINER
                                                                                  2   916 2nd Street
                                                                                      Sacramento, CA 95814
                                                                                  3   Telephone: (916) 447‐1965
                                                                                  4   Attorney for Defendant Louis Walker
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                                                                                  9                 IN THE UNITED STATES DISTRICT COURT
                                                                                 10              FOR THE EASTERN DISTRICT OF CALIFORNIA
                                                                                 11
                                                                                                                           ) No. CR‐S‐03‐0042 FCD
                                                                                 12   United States of America,            )
                                                                                                                           ) STIPULATION AND ORDER
                                                                                 13             Plaintiff,                 ) THEREON
                                                                                                                           )
                                                                                 14        vs.                             )
                                                                                                                           ) DATE: November 19, 2007
                                                                                 15   Louis Walker,                        )
                                                                                                                           ) Time: 10:00am
                                                                                 16             Defendant                  )
                                                                                                                             Hon. Frank C. Damrell, Jr
                                                                                 17                                        )
                                                                                 18                   It is hereby stipulated between counsel for the government
LAW OFFICES OF KATHRYN KOHLMAN DRULINER




                                                                                 19
                                                                                      and defendant that the SENTENCING HEARING ON THE VIOLATION OF
                                          916 2ND STREET, SACRAMENTO, CA 95814




                                                                                 20

                                                                                 21   SUPERVISED RELEASE in the above captioned matter, presently scheduled
                                                       (916) 447-1965




                                                                                 22
                                                                                      for November 19, 2007 maybe continued to December 10, 2007 at 10:00 a.m.
                                                                                 23

                                                                                 24   This continuance is necessary to allow the defendant’s counsel to appear as

                                                                                 25
                                                                                      she is in trial in Auburn.
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                                                                                          Case 2:03-cr-00042-MCE Document 1037 Filed 11/20/07 Page 2 of 2
                                                                                  1   DATE: November 16, 2007                                   /s/
                                                                                                                                    Kathryn Kohlman Druliner
                                                                                  2                                                   Attorney for Defendant
                                                                                  3

                                                                                  4
                                                                                  5   DATE: November 16, 2007                                  /s/
                                                                                                                                          Philip Ferrari
                                                                                  6
                                                                                                                                      United States Attorney
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                                                                                  8         IT IS SO ORDERED

                                                                                  9   DATED: November 19, 2007
                                                                                 10
                                                                                 11

                                                                                 12                                   _______________________________________
                                                                                                                      FRANK C. DAMRELL, JR.
                                                                                 13                                   UNITED STATES DISTRICT JUDGE
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LAW OFFICES OF KATHRYN KOHLMAN DRULINER




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                                          916 2ND STREET, SACRAMENTO, CA 95814




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                                                       (916) 447-1965




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